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      Attorneys for William A. Leonard, Chapter 7 Trustee
 5
 6                            UNITED STATES BANKRUPTCY COURT

 7                                      DISTRICT OF NEVADA

 8    In re
 9    EXECUTIVE PLASTERING, INC.,                          Case No. 09-33776-BTB
10                                                         Chapter 7
                                    Debtor.
11
12                                                         Adv Case No. 11-01404-BTB
      WILLIAM A. LEONARD, TRUSTEE,
13
                                         Plaintiff
14
      v.
15
      KENNETH HOLT,
16                                       Defendant
17
18                                   VOLUNTARY DISMISSAL
19            Pursuant to F.R.B.P. 7041(a)(1)(A) the Trustee, by and through his counsel, Timothy S.

20   Cory & Associates, hereby voluntarily dismisses the within action.

21            DATED: December 9, 2014

22                                               TIMOTHY S. CORY & ASSOCIATES

23
24                                               /s/ Timothy S. Cory                  .
25                                               Timothy S. Cory, Esq.
                                                 Attorneys for William A. Leonard, Chapter 7 Trustee
26
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 1                                  CERTIFICATE OF SERVICE

 2   I hereby certify that I am an employee of Timothy S. Cory & Associates and that on the 9th
     day of December, 2014, I caused to be served a true and correct copy of the VOLUNTARY
 3   DISMISSAL in the following manner:
 4
           [X]    a.     Electronic Service
 5
                  Under Administrative Order 02-1 (Rev. 8-31-04) of the United States Bankruptcy
 6                Court for the District of Nevada, the above-referenced document was
                  electronically filed on the date hereof and served through the Notice of Electronic
 7                Filing automatically generated by that Court’s facilities.

 8         [X]    b.     United States Mail

 9                By depositing a copy of the above-referenced document for mailing in the United
                  States Mail, first class postage prepaid, at Las Vegas, Nevada, to the parties listed
10                below, at their last known mailing addresses, on the date above written.

11                Keen Ellsworth, Esq.
                  ELLSWORTH & BENNION, CHTD
12                777 N. Rainbow Blvd., #270
                  Las Vegas, NV 89107
13                Counsel for Kenneth Holt

14         [ ]    c.     Facsimile Transmission

15                By facsimile to the facsimile numbers indicated, to those persons listed below, on
                  the date above written. No error was reported by the facsimile machine that I
16                used.

17         [ ]    d.     Personal Service

18                [ ]    For a party represented by an attorney, delivery was made by handing the
                         documents to the attorney or by leaving the documents at the attorney’s
19                       office with a clerk or other person in charge, or if no one is in charge by
                         leaving the documents in a conspicuous place in the office, on the date
20                       written above.
                  [ ]    For a party, delivery was made by handing the documents to the party or by
21                       leaving the documents at the person’s dwelling house or usual place of
                         abode with someone of suitable age and discretion residing there, on the
22                       date written above.

23
           I declare under penalty of perjury that the foregoing is true and correct.
24
           Dated this 9th day of December, 2014.
25
                                                 /s/ Suzanne Alexander
26                                               An employee of Timothy S. Cory & Associates
